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ERIC S. LICKSTEIN
JEFFREY M. SOLOF March 8, 2023
FILED VIA CM/ECF
The Honorable Beth P. Gesner
Chief Magistrate Judge

United States District Court

for the District of Maryland
101 W. Lombard Street
Baltimore, Maryland 21201

Re: United States of America v. Roy McGrath
Case No. DLB-21-0399
Initial Appearance & Lafler Hearing
Hearing Date: March 10, 2023, 3:00 p.m.

Dear Judge Gesner:

It is my understanding that an initial appearance for the superseding indictment filed in
the above-captioned matter, as well as a “Lafler” hearing has been scheduled for F riday, March
10, 2023, at 3:00 p.m. As a result of an inadvertent oversight the hearing was not previously
scheduled, and is now scheduled the Friday prior to the commencement of the trial in this matter.
Mr. McGrath resides in Florida, and is traveling to Maryland for the trial. That being said, Mr.
Magrath had planned on traveling on Saturday in advance of Monday’s trial date.

I submit this letter as an inquiry/request if the noted hearings can be conducted virtually
on Friday afternoon in order to accommodate Mr. Magrath’s previous travel plans. The
government has indicated that it objects to this request.

Thank you for your consideration of this request.

Sincerely,
-S-=

Joseph Murtha

ce: Joyce McDonald, AUSA
